 

‘Case 1:21-cv-00488-LMB-MSN Document 1-1 Filed 04/20/21 Page 1 of 7 PagelD# 6

SPS

COMMONWEALTH OF VIRGINIA
CIRCUIT COURT OF FAIRFAX COUNTY
4110 CHAIN BRIDGE ROAD
FAIRFAX, VIRGINIA 22030
703-691-7320
(Press 3, Press 1)

i

Onycka Hoskie vs. Jerome Jefferson et al.
CL-2020-0020674

TO: Lambert Transfer & Storage, Inc.
Serve: Carlton Hunley 217
. 1102 Fox Trail oo
Opelika AL 36801

3 . fe .
SUMMONS - CIVIL ACTION

The party upon whom this summons and the attached complaint are served is hereby notified
that unless within 21 days after such service, response is made by filing in the Clerk’s office
of this Court a pleading in writing, in proper legal form, the allegations and charges may be
taken as admitted and the court may enter an order, judgment or decree against such party
either by default'or after hearing evidence. Fs

APPEARANCE IN PERSON IS NOT REQUIRED BY THIS SUMMONS.

Done in the name of the Commonwealth of Virginia, on January 5, 2024,
: oe GLERI
! > By: C0
: Po, _ Deputy Clerk

Plaintiff's Attorney: Bradley W. Hines
Case 1:21-cv-00488-LMB-MSN Document 1-1 Filed 04/20/21 Page 2 of 7 PagelD# 7

COVER SHEET FOR FILING CIVIL ACTIONS

COMMONWEALTH OF VIRGINIA

sn TCR OSB cc tstnnnnm

“'PLALNTIFE(S)

I, the undersigned [ ] plaintiff [ ] defendant [x] attomey for [x] plaintiff [ ] de
the following civil action. (Please indicate by checking box that most closely i

GENERAL CIVIL
Subsequent Actions
{ ] Claim Impieading Third Party Defendant
[ ] Monetary Damages
{ ] No Monetary Damages
[ ] Counterclaim
[ ] Monetary Damages
{.] No Monetary Damages
[ ] Cross Claim
[ ] Interpleader .
[ ] Reinstatement (other than divorce or
driving privileges)
[ } Removal of Case to Federal Court
Business & Contract
[ ] Attachment
[ ] Confessed Judgment
[ ] Contract Action
[ ] Contract Specific Performance
[ ] Detinue
{ } Garnishment
Property
[ ] Annexation
{ ] Condemnation
[ ] Ejectment
[ }] Encumber/Sel) Real Estate

2020 20674

CaSO NO. weccccccccscsescsusssssesacesssesseepeecnsnseipie vevesvansanrass
. (CLERK'S OFFICE USE ONLY}
nn HEAR COUN su tuiniieieee cc Circuit Court
VAIN POF esccsstctcntrnveannsrnsins J EROME JEFFERSON setetesccnrmersesasesvaserentsnans
DEFENDANT(S)

vuaskfAMBERT TRANSFER & STORAGE, INC.

ADMINISTRATIVE LAW
[ ] Appeal/ludicial Review of Decision of
(select one)
[ ] ABC Board
[ ] Board of Zoning
[ } Compensation Board
[ ] DMV License Suspension
] Employee Grievance Decision
] Employment Commission
] Local Government
] Marine Resources Commission
} School Board
] Voter Registration
] Other Administrative Appeal

Seas ees

DOMESTIC/FAMILY

{ ] Adoption
[ ] Adoption — Foreign

[ ] Adult Protection

[ J Annulment
[ ] Annulment ~ Counterclaim/Responsive

Pleading

[ } Child Abuse and Neglect —- Unfounded
Complaint

[ ] Civil Contempt

fendant hereby notify the Clerk of Court that I am filing
dentifies the claim being asserted or relief sought.)

PROBATE/WILLS AND TRUSTS

[ J] Accounting
f ] Aid and Guidance
{ ] Appointment (select one)
[ ] Guardian/Conservator
[ } Standby Guardian/Conservator

 
   
 

[ ] Trust (selecfGne) =
| ]Impress/Puclare
[ L eieaton: ; cA
[ ] Will (select a.
{ ] Constnie:. 67 re

 

[] Contestéd \

: “ay as
MISCELLANEOUS.) aa

[ ] Appointment @elect'Sie) —
{ ] Church Trustee."
[.] Conservator of Péace CD
E ] Marriage Celebyant
[ } Bond Forfeiture Appeal
[ } Declaratory Judgment
{] Declare Death = -
[ j Driving Privileges (select one)
[ ] Reinstatement pursuant to § 46,2-427
[ ] Restoration — Habitual Offender or 3"
Offense

 

 

[ ] Enforce Vendor's Lien [ ] Divorce (select one} { | Expungement
+ [ ] Escheatment [ ] Complaint — Contested* [ ] Firearms Rights — Restoration
[ } Establish Boundaries [ ] Complaint — Uncontested* { } Forfeiture of U.S, Currency
[ ] Landlord/Tenant ; [ } Counterciaim/Responsive Pleading [ ] Freedom of Information
[ ] Unlawful Detainer [ ] Reinstatement ~ { ] Injunction
[} Mechanics Lien Custody /Visitation/Support/Equitable [ ] Interdiction
[] Partition Distribution [ ] Interrogatory
[] Quict Title ; . [ ] Separate Maintenance [ ] Judgment Lien-Bill to Enforce
:  [ ] Termination of Mineral Rights { ] Separate Maintenance Counterclaim [ ] Law Enforcement/Public Official Petition
Tort [ ] Name Change
[ ] Asbestos Litigation WRITS [ ] Referendum Elections
[] Compromise Settlement [ ] Certiorari [ ] Sever Order
[ ] Intentional Tort ; { ] Habeas Corpus [ ] Taxes (select one)
{ ] Medical Malpractice [ ] Mandamus f ] Correct Erroneous State/Local
[x] Motor Vehicle Tort [ ] Prohibition [] Delinquent
yoauet ae f ] Quo Warranto [ ] Vehicle Confiscation
rong ea [ ] Voting Rights ~ Restoration
{ ] Other General Tort Liability [ } Other (please specity)
[x] Damages in the amount of $ 3,000,000.00 os coccucucne are claimed, seed Lod. BLED cccscasnmnen
vuvnunw DoceMDber 10, 2020 he # S23
DATE E]PLAINTIFF = [JUEFENDANT [+] ATTORNEY FOR [=] PLAINTIFF
[ ] DEFENDANT
i Stadley W Hines, VSB NO, 82218 nan

PRINT NAME
wt 225 Bye Street, NW, Suite 550A, Washington, DC 20005
nee NDDRESS/TELEPHONE NUMBER OF SIGNATOR

_. el (202) 737-4141; Fax (202) 609-9954 bhines@slocumblaw.com _
FORM CC-!416 (MASTER) PAGE ONE 10/12

*“Contested” divorce means any of the following matters are in
dispute: grounds of divorce, spousal support and maintenance,
child custody and/or visitation, child support, property distribution
or debt allocation. An “Uncontested” divorce js filed on no fault
grounds and none of the above issues are in dispute,

 

 

 
 

Case 1:21-cv-00488-LMB-MSN Document 1-1 Filed 04/20/21 Page 3 of 7 PagelD# 8

Civil Action Type Codes
(Clerk’s Office Use Only)

 

  

   
 
  

    
 

Accounting .... a». ACCT
Adoption ... » ADOP
Adoption — ~ Foreign vem FORA
Adult Protection ... eevee PROT
Aid and Guidance . “ wun AID
Annexation ... » ANEX
Annulment .. zs . ANUL
Annulment — ‘Counterclain/Responsiv ive e Pleading... ACRP
Appeal/Judicial Review
Board of Zoning .......... «ZONE
Compensation Boat .......cceescseessosess onsen ACOM
DMV License Suspension .. ven DR
Employment Commission .......... .EMP
Employment Grievance Decision .. — GRY
Local Government .., GOVT
Marine Resources ........ MAR
School Board ec cceseceescvssecsesseevarsensinensesasanvevassee JR
Voter Registration .... AVOT
Other Administrative ‘Appeal .. AAPL
Appointment
Conservator of Peace o...cssntesinsseneesnieenenntOOP
Church Trustes .....cc0000 »AOCT
Guardian/Conservator .. rrovesce APPT
Marriage Celebrant ... petssusensisssestatneatatsttaseues ROMC
Standby Guardian/Conservator . vee conn SEND
Asbestos Litigation .... saventeanen ven AL
Attachment ... as ATT
Bond Forfeiture “Appeal .. dossaeet BFA
Child Abuse and Neglect — Unfounded Complaint .CAN
Civil Contempt .... . CCON
Claim Impleading Third Party Defendant — -
Monetary Damages/No Monetary Damages wu CTP
Complaint — (Miscellaneous) ... . sun COM

  
  
  

Compromise Settlement ...............

Condemnation occ COND
Confessed Judgimett .....cccccccccccccsensssessssescsnsseceuscevsussuenseuee ci
Contract Action ... CNTR
Contract Specific Performance .. se » PERF
Counterclaim — ~ Monetary Damages 0 Monetary
Damages ... sean siutestetresese penne OC
Cross Claim . vane »CROS
Declaratory Judgment wun: DECL
Declare Death oc sssssscssscstssan ssstesssseceysessinreneeseen DDTH
Detine os eecrecconennimtnmnaieninosnnanincnnn DET
Divorce
Complaint — Contested/Uncontested ... vn DEY,
Counterclaim/Responsive Pleading .... » DCRP
Reinstatement ~ CustodyVisitation Suppor
Equitable Distribution ou... panne
Driving Privileges
Reinstatement pursuant to § 46.2-427 _._........ DRIV
Restoration — Habitual Offender or
39 OFFENSE acstsasseninsnainisneuaaneinene REST

FORM CC-1416 (MASTER) PAGE TWO [0/12

   
  
   
   
  
  

Ejectment ... EICT
Encumbetr/Sell Real Estate . wae
Enforce Vendor’s Lien ...... VEND

Escheatment ... cadens su neseaavasceanasetesuugs ese estarsensaunesses ESC
Establish Boundaries ent ESTB
Expungement .......0..0..  RPUN
Firearms Rights — ~ Restoration . pes REST
Forfeiture of U.S, Currency .... FORF
Freedom of Information ......... wu EO]
Garnishment ........csece GARN
Injunction 0... suse NI
Intentional Tort ... we TTOR
Interdiction ...... ww INTD
Innterpleader oo cssssssssssssctescccsssassssscsecssensneerseseeronanea INTP
Interrogatory ... sine INTR
Judgment Lien - - Bill to Enforce . LIEN
Landlord/Tenant .., wow T

Law Enfotcement/Public Official | Petition .
Mechanics Lien .

     
 

Medical Malpratie nnnnnnnnnneoneMED
Motor Vehicle Tort .. see MV
Name Change .... we NC

Other General Tort Lisbily.
Partition, ne
Petition — (Miscellaneous). a PET

Product Liability ... PROD
Quiet Title .., seatesteeeseetdeseceptiesedgpenenvegeeenn aeavaeesainieeonte QT
Referendum Elections ... se wean ELEC
Reinstatement (Other than divorce’ or riving

privileges) ..,

Removal of Case to Federal Court .
Separate Maintenance .. ws
Separate Maintenance — — Counterclaim/Responsive

 

 

  
 
  

Pleading ... sangre tevtenereesnattscatsiceveateauideanvergte see
Sever Order .. suena eetousstsasennyaseruatesssteudvecestetarsestshyeesvenseatstaanserst sa
Taxes
Correct Erroneous State/Local oss CPAX
Delinquent ... essen vous DTAX
Termination of Mineral Rights eve MIN

Trust — Impress/Declare .....
Trust - Reformation. .......

Unlawful Detainer ....... JD
Vehicle Confiscation ... VEH
Voting Rights — — Restoration .: . VOTE
Will Construction... eotorsttatssaustesanescanacescaspanensvertivnee CNST
Will Contested oo. cuscomenanenseneaneane WELL
Writs

CerthOr ari cs ssenecresesssensenrcean

Habeas Corpus .

Mandamus .........

Prohibition .........

QUO Warrant .ooccssssssssscsessesssscissenseesesssesstareeereseme

 

Wrongful Death snininiinntuninisasinspannsssinimarsnn

 
 

Case 1:21-cv-00488-LMB-MSN Document1-1 Filed 04/20/21 Page 4 of 7 PagelD# 9

 

 

VIRGINIA:
IN THE CIRCUIT COURT FOR FAIRFAX COUNTY
ONYCKA HOSKIE
4509 Hamilton Drive
Dale City, Virginia 22193
Plaintiff, :
v. : Case No. 20 2 0 20674

JEROME JEFFERSON to
4013 Flowers Street :
Adamsville, AL 35005

and a

LAMBERT TRANSFER & STORAGE, INC.
1102 Fox Trail
Opelika, Alabama 36801

ew os

Serve: Carlton Hunley
1102 Fox Trail
Opelika, AL 36801

ae ot ee oe

Defendant.
COMPLAINT

COMES NOW the Plaintiff, Onycka Hoskie, through counsel, and as and for her cause of
action against the Defendants, Jerome Jefferson and Lambert Transfer & Storage, Inc., states as
follows:

COUNT I
(Negligence Causing Personal Injuries Against Jerome Jefferson)

1. On or about June 22, 2020, Plaintiff Onycka Hoskie was operating a motor

vehicle on westbound Furnace Road, at or near its intersection with Richmond Highway, in

Fairfax County, Virginia. On the same date and time, Defendant Jerome Jefferson was operating
Case 1:21-cv-00488-LMB-MSN Document 1-1 Filed 04/20/21 Page 5 of 7 PagelD# 10

a motor vehicle on southbound Richmond Highway, at or near its intersection with Furnace
Road, in Fairfax County, Virginia. Suddenly and without warning, as he attempted to make a
left turn onto eastbound Furnace Road, Defendant Jefferson negligently crossed over the double-
yellow highway dividing lines and drove his vehicle into the Plaintiff's vehicle, thereby causing
a collision, and further causing the Plaintiff to sustain serious personal injuries. The Plaintiff
neither caused nor contributed to the collision or her injuries.

2. Defendant Jefferson failed to pay full time and attention to the operation of his
vehicle, failed to maintain right of center, failed to yield to the right-of-way, failed to operate his
vehicle at a reasonable speed, failed to brake timety, failed to reduce his speed to avoid a
collision, failed to control his vehicle, failed to see what was there to be seen, atid operated his
vehicle recklessly and with a reckless disregard for the consequences of such operation, and with
a disregard for the rights and safety of the Plaintiff and others, and in a manner likely to |
endanger the person and property of the Plaintiff and others.

3. Defendant Jefferson operated his automobile in violation of the motor vehicle and
traffic laws of the Commonwealth of Virginia. It was the duty of Defendant Jefferson to operate
his vehicle in a careful and prudent manner with due regard for the safety of other persons;
notwithstanding that duty, Defendant Jefferson operated his vehicle in a negligent manner, with a
disregard for the safety of the Plaintiff.

4, As a direct and proximate result of the negligence of the Defendant as aforesaid,
the Plaintiff has suffered, and will continue to suffer, severe and permanent physical injuries,

disability, great pain and suffering, and great mental anguish and emotional distress,
Case 1:21-cv-00488-LMB-MSN Document 1-1 Filed 04/20/21 Page 6 of 7 PagelD# 11

5. As a further result of the negligence of the Defendant as aforesaid, the Plaintiff
has incurred substantial medical and related expenses, loss of earnings, loss of employment
opportunity, transportation costs, and loss of time and enjoyment from her usual and customary
leisure and recreational activities.

WHEREFORE, the Plaintiff demands judgment from and against Defendant
j erome Jefferson in the amount of One Million Dollars ($1,000,000) in compensatory damages,
plus interest, costs, and such further relief as the Court may find just and reasonable.
COUNT I
(Vicarious Liability/Respondeat Superior Against Lambert Transfer & Storage, Inc.)

6. The Plaintiff adopts and incorporates by reference herein the aliegations set forth
in Paragraphs | through 5 of the Complaint. .

7. At all times relevant to this action, Defendant Jerome Jefferson was working as an
employee or agent for Defendant Lambert Transfer & Storage, Inc. (hereinafter “Lambert”.
Defendant Lambert is therefore vicariously liable for the aforesaid negligence of Defendant
Jefferson and damages to the Plaintiff under the doctrine of respondeat superior.

WHEREFORE, the Plaintiff, Onycka Hoskie, demands judgment from and against
Defendant Lambert Transfer & Storage, Inc. in the amount of One Million Dollars

($100,000,000) in compensatory damages, plus interest from the date of the accident, and costs.
 

 

' Case 1:21-cv-00488-LMB-MSN Document 1-1 Filed 04/20/21 Page 7 of 7 PagelD# 12

7 9

JURY DEMAND

8, The Plaintiff hereby demands a trial by jury on all issues herein.

ONYCKA HOSKIE

oy olde

Bradley W. Hines (VSB No. 82218)

SLOCUMB LAW FIRM, LLC
1225 I Street, NW

Suite 550A

Washington, D.C, 20005

Tel: (202) 737-4141

Fax: (202) 609-9954
bhines@slocumblaw.com

COUNSEL FOR PLAINTIFF
